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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )                    4:11CR3087
                                             )
              v.                             )
                                             )          MEMORANDUM AND ORDER
GUY ALLEN,                                   )
                                             )
                     Defendant.              )

       The defendant has moved to continue the pretrial motion deadline. Filing No. 20.
Defense counsel explains this case was recently reassigned to him, he has not had time to fully
review the voluminous discovery, and he has limited visitation access with the defendant.
Based on the showing set forth in the defendant’s motion, the court finds the motion should
be granted.


       IT IS ORDERED:

       1)     The defendant’s motion to continue, (filing no. 20), is granted.

       2)     The defendant’s pretrial motions and briefs shall be filed on or before October
              28, 2011.

       3)     Trial of this case is continued pending resolution of any pretrial motions filed.

       4)     The ends of justice served by granting defendant’s motion to continue outweigh
              the interests of the public and the defendant in a speedy trial, and the additional
              time arising as a result of the granting of the motion, the time between today’s
              date and October 28, 2011, shall be deemed excludable time in any
              computation of time under the requirements of the Speedy Trial Act, for the
              reason that the parties require additional time to adequately prepare the case,
              taking into consideration due diligence of counsel, the novelty and complexity
              of the case, and the fact that the failure to grant additional time might result in
              a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).

              September 30, 2011.                         BY THE COURT:

                                                          s/ Cheryl R. Zwart
                                                          United States Magistrate Judge
